         Case 1:21-cr-00352-JEB Document 16-1 Filed 06/21/21 Page 1 of 7




                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     June 2, 2021

By e-mail
Jose German
Federal Public Defender
625 Indiana Ave NW # 550
Washington, DC 20004

       Re:       United States v. Bru, 21-CR-352

Dear Counsel:

        I have uploaded to your account in USAFx the following discovery: all of the files listed
on the attached index (Exhibit A). All files uploaded to USAFx will automatically be deleted
after 60 days per the automatic retention policy in place. Please download the files before
then. This material is subject to the terms of the Protective Order issued in this case.

        Note that all these files and their related physical attachments are currently being
formally processed for discovery by the discovery team assigned to the Capitol Riots cases. As
such, the same files will be re-produced with Bates-stamps at a later date. Nevertheless, we
wanted to provide you what we can now as we wait for this processing to be finalized.

        You will notice that some of the files being produced refer to physical attachments that
were burned to a disk. If the physical attachments were too large to send via USAFx, they will
instead be provided with the formal discovery round after being processed.

         The following materials are designated as SENSITIVE under the protective order
in this case:

                0176-SE-3397198_0000034_1A0000031_0000001.pdf

        The following materials are designated as HIGHLY SENSITIVE under the
protective order in this case:
         Case 1:21-cr-00352-JEB Document 16-1 Filed 06/21/21 Page 2 of 7




              0176-SE-3397198_0000003 Redacted.pdf
              0176-SE-3397198_0000003_1A0006526_0000004_PHYSICAL - Notes
               Redacted.pdf
              0176-SE-3397198_0000004 Redacted.pdf
              0176-SE-3397198_0000005 Redacted.pdf
              0176-SE-3397198_0000005_1A0000002_0000001_PHYSICAL – Notes
               Redacted.pdf
              0176-SE-3397198_0000006 Redacted.pdf
              0176-SE-3397198_0000006_1A0000003_0000001_PHYSICAL - Notes
               Redacted.pdf
              0176-SE-3397198_0000010.pdf
              0176-SE-3397198_0000010_1A0000006_0000001 Redacted.pdf
              0176-SE-3397198_0000010_1A0000006_0000002 Redacted.pdf
              0176-SE-3397198_0000016.pdf
              Every file in the folder named: 0176-SE-
               3397198_0000016_1A0000014_0000001_PHYSICAL

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

       Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
                                                 2
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within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.



                                                     Sincerely,

                                                     William Dreher
                                                     Assistant United States Attorney
Enclosure(s)




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Exhibit A:

0176-SE-3397198_0000003 Redacted.pdf
0176-SE-3397198_0000003_1A0006526_0000004_PHYSICAL - Notes Redacted.pdf
0176-SE-3397198_0000004 Redacted.pdf
0176-SE-3397198_0000005 Redacted.pdf
0176-SE-3397198_0000005_1A0000002_0000001_PHYSICAL – Notes Redacted.pdf
0176-SE-3397198_0000006 Redacted.pdf
0176-SE-3397198_0000006_1A0000003_0000001_PHYSICAL - Notes Redacted.pdf
0176-SE-3397198_0000010.pdf
0176-SE-3397198_0000010_1A0000006_0000001 Redacted.pdf
0176-SE-3397198_0000010_1A0000006_0000002 Redacted.pdf
0176-SE-3397198_0000016.pdf
Folder named: 0176-SE-3397198_0000016_1A0000014_0000001_PHYSICAL
0176-SE-3397198_0000003_1A0006526_0000001.png
0176-SE-3397198_0000003_1A0006526_0000002.png
0176-SE-3397198_0000003_1A0006526_0000003.png
0176-SE-3397198_0000003_1A0006526_0000005.png
0176-SE-3397198_0000003_1A0006526_0000006.png
0176-SE-3397198_0000007.pdf
0176-SE-3397198_0000007_Import.pdf
0176-SE-3397198_0000009.pdf
0176-SE-3397198_0000009_1A0000005_0000001.pdf
0176-SE-3397198_0000009_1A0000005_0000002 Redacted.pdf
0176-SE-3397198_0000011.pdf
0176-SE-3397198_0000011_1A0000007_0000001.pdf
0176-SE-3397198_0000011_1A0000007_0000002.pdf
0176-SE-3397198_0000011_1A0000007_0000003.pdf
0176-SE-3397198_0000011_1A0000007_0000004.pdf
0176-SE-3397198_0000011_1A0000007_0000005.pdf
0176-SE-3397198_0000014.pdf
0176-SE-3397198_0000014_1A0000012_0000001.pdf
0176-SE-3397198_0000015.pdf
0176-SE-3397198_0000015_1A0000013_0000001.pdf
0176-SE-3397198_0000017.pdf
0176-SE-3397198_0000017_1A0000015_0000001.JPG
0176-SE-3397198_0000017_1A0000015_0000002.JPG
0176-SE-3397198_0000017_1A0000015_0000003.mp4
0176-SE-3397198_0000017_1A0000015_0000004.JPG
0176-SE-3397198_0000018.pdf
0176-SE-3397198_0000018_1A0000016_0000001.jpg
0176-SE-3397198_0000018_1A0000016_0000002.jpg
0176-SE-3397198_0000018_1A0000016_0000003.jpg
0176-SE-3397198_0000018_1A0000016_0000004.docx

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       Case 1:21-cr-00352-JEB Document 16-1 Filed 06/21/21 Page 5 of 7




0176-SE-3397198_0000018_1A0000016_0000005.mp4
0176-SE-3397198_0000018_1A0000016_0000006.zip
0176-SE-3397198_0000018_1A0000016_0000007.pdf
0176-SE-3397198_0000018_1A0000016_0000008.zip
0176-SE-3397198_0000018_1A0000016_0000009.jpeg
0176-SE-3397198_0000018_1A0000016_0000010.jpeg
0176-SE-3397198_0000019.pdf
0176-SE-3397198_0000019_1A0000017_0000001.jpg
0176-SE-3397198_0000019_1A0000017_0000002.jpg
0176-SE-3397198_0000019_1A0000017_0000003.jpg
0176-SE-3397198_0000019_1A0000017_0000004.jpg
0176-SE-3397198_0000019_1A0000017_0000005.jpg
0176-SE-3397198_0000020.pdf
0176-SE-3397198_0000021.pdf
0176-SE-3397198_0000021_1A0000019_0000001_PHYSICAL.pdf
0176-SE-3397198_0000021_1A0000019_0000001_PHYSICAL - Actual.pdf
0176-SE-3397198_0000021_1A0000019_0000002_PHYSICAL.pdf
Folder named: 0176-SE-3397198_0000021_1A0000019_0000002_PHYSICAL
0176-SE-3397198_0000021_1A0000020_0000001_PHYSICAL.pdf
0176-SE-3397198_0000021_1A0000020_0000001_PHYSICAL - Actual.pdf
0176-SE-3397198_0000021_1A0000021_0000001_PHYSICAL.pdf
0176-SE-3397198_0000021_1A0000021_0000001_PHYSICAL - Actual.pdf
0176-SE-3397198_0000021_1A0000022_0000001.JPG
0176-SE-3397198_0000021_1A0000022_0000002.JPG
0176-SE-3397198_0000021_1A0000022_0000003.JPG
0176-SE-3397198_0000021_1A0000022_0000004.JPG
0176-SE-3397198_0000021_1A0000022_0000005.JPG
0176-SE-3397198_0000021_1A0000022_0000006.JPG
0176-SE-3397198_0000022 Redacted.pdf
0176-SE-3397198_0000022_1A0000023_0000001_PHYSICAL.pdf
0176-SE-3397198_0000022_1A0000023_0000001_PHYSICAL - Notes.pdf
0176-SE-3397198_0000023.pdf
0176-SE-3397198_0000025.pdf
0176-SE-3397198_0000026.pdf
0176-SE-3397198_0000027.pdf
0176-SE-3397198_0000027_1A0000026_0000001.pdf
0176-SE-3397198_0000027_1A0000027_0000001.pdf
0176-SE-3397198_0000028.pdf
0176-SE-3397198_0000028_1A0000028_0000001.JPG
0176-SE-3397198_0000028_1A0000028_0000002.JPG
0176-SE-3397198_0000028_1A0000028_0000003.JPG
0176-SE-3397198_0000028_1A0000028_0000004.JPG
0176-SE-3397198_0000028_1A0000028_0000005.JPG
0176-SE-3397198_0000028_1A0000028_0000006.JPG

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       Case 1:21-cr-00352-JEB Document 16-1 Filed 06/21/21 Page 6 of 7




0176-SE-3397198_0000028_1A0000028_0000007.JPG
0176-SE-3397198_0000028_1A0000028_0000008.JPG
0176-SE-3397198_0000028_Import.pdf
0176-SE-3397198_0000029.pdf
0176-SE-3397198_0000030.pdf
0176-SE-3397198_0000031.pdf
0176-SE-3397198_0000031_1A0000029_0000001.pdf
0176-SE-3397198_0000031_1A0000029_0000002.pdf
0176-SE-3397198_0000031_1A0000029_0000003.pdf
0176-SE-3397198_0000031_1A0000029_0000004.pdf
0176-SE-3397198_0000031_1A0000029_0000005.pdf
0176-SE-3397198_0000031_1A0000029_0000006.pdf
0176-SE-3397198_0000031_1A0000029_0000007.pdf
0176-SE-3397198_0000031_1A0000029_0000008.pdf
0176-SE-3397198_0000032.pdf
0176-SE-3397198_0000032_1A0000030_0000001_PHYSICAL.pdf
0176-SE-3397198_0000034.pdf
0176-SE-3397198_0000034_1A0000031_0000001.pdf
0176-SE-3397198_0000034_1A0000032_0000001.pdf
0176-SE-3397198_0000034_1A0000032_0000002.jpg
0176-SE-3397198_0000034_1A0000033_0000001.pdf
0176-SE-3397198_0000034_1A0000033_0000002.mp4
0176-SE-3397198_0000034_1A0000033_0000003.mp4
0176-SE-3397198_0000034_1A0000033_0000004.jpg
0176-SE-3397198_0000034_1A0000033_0000005.jpg
0176-SE-3397198_0000034_1A0000033_0000006.jpg
0176-SE-3397198_0000034_1A0000033_0000007.jpg
0176-SE-3397198_0000034_1A0000033_0000008.jpg
0176-SE-3397198_0000034_1A0000033_0000009.jpg
0176-SE-3397198_0000034_1A0000033_0000010.mp4
0176-SE-3397198_0000034_1A0000033_0000011.jpg
0176-SE-3397198_0000034_1A0000033_0000012.jpg
0176-SE-3397198_0000034_1A0000033_0000013.jpg
0176-SE-3397198_0000034_1A0000033_0000014.jpg
0176-SE-3397198_0000034_1A0000033_0000015.mp4
0176-SE-3397198_0000034_1A0000033_0000016.mp4
0176-SE-3397198_0000034_1A0000033_0000017.jpg
0176-SE-3397198_0000034_1A0000033_0000018.jpg
0176-SE-3397198_0000036.pdf
0176-SE-3397198-GJ_0000001.pdf
0176-SE-3397198-GJ_0000002.pdf
0176-SE-3397198-GJ_0000002_1A0000003_0000001.pdf
0176-SE-3397198-GJ_0000003.pdf
0176-SE-3397198-GJ_0000003_1A0000004_0000001.pdf

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       Case 1:21-cr-00352-JEB Document 16-1 Filed 06/21/21 Page 7 of 7




0176-SE-3397198-GJ_0000003_1A0000004_0000002.pdf
0176-SE-3397198-GJ_0000004.pdf
0176-SE-3397198-GJ_0000004_1A0000005_0000002.pdf
0176-SE-3397198-GJ_0000005.pdf
0176-SE-3397198-GJ_0000005_1A0000006_0000001.pdf
0176-SE-3397198-GJ_0000006.pdf
0176-SE-3397198-GJ_0000007.pdf
0176-SE-3397198-GJ_0000008.pdf
0176-SE-3397198-GJ_0000008_1A0000007_0000001 Redacted.pdf
0176-SE-3397198-GJ_0000009.pdf
0176-SE-3397198-GJ_0000009_1A0000008_0000001.pdf
0176-SE-3397198-GJ_0000010.pdf
0176-SE-3397198-GJ_0000010_1A0000011_0000001.pdf
0176-SE-3397198-GJ_0000010_1A0000011_0000002.pdf
0176-SE-3397198-GJ_0000010_1A0000011_0000003.pdf




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